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                                           THE CITY OF NEW YORK
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                                                                   January 14, 2019

       VIA ECF
       The Honorable Analisa Torres
       United States District Court
       Southern District of New York
       500 Pearl Street
       New York, NY 10007


                      Re:    David Floyd, et al. v. City of New York, 08 CV 1034 (AT);
                             Kelton Davis, et al. v. City of New York, et al., 10 CV 699 (AT);
                             Jaenean Ligon, et al. v. City of New York, et al., 12 CV 2274 (AT)

       Your Honor:

                     I am a Senior Counsel in the Office of Zachary W. Carter, Corporation Counsel of
       the City of New York, and the attorney assigned to the above-referenced matter on behalf of
       defendant City of New York (“City”), writing on behalf of the New York City Police
       Department (“NYPD”). The NYPD respectfully submits, for the Court’s approval, its plan to
       implement Facilitator’s Recommendation No. 1.

                      Thank you for your time and consideration.


                                                                   Respectfully submitted,



                                                                   /s/

                                                                   DAVID COOPER
                                                                   Senior Counsel
                                                                   Special Federal Litigation Division
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cc:   VIA ECF
      All Parties on Record
